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                                                               DATE FILED: July 27, 2021 5:34 PM
   DISTRICT COURT, ROUTT COUNTY, COLORADO FILING ID: 393C30EF8E717
   Court Address: 1955 Shield Drive, Unit 200       CASE NUMBER: 2021CV30026
                  Steamboat Springs, Colorado 80487
   Telephone:     (970) 879-5020

   Plaintiff: HDN CONDO ASSOCIATION INC DAN ROTH,
   a Colorado non-profit corporation

   v.

   Defendant: WEST AMERICAN INSURANCE COMPANY,
   an Indiana corporation

   ATTORNEY FOR PLAINTIFF:
   Gary S. Engle, Esq., Atty. Reg. # 27768                           Case Number:
   Brent Demmitt, Esq., Atty. Reg # 53852                            2021CV030026
   Sharp, Sherman & Engle, LLC
   P. O. Box 774608 / 401 Lincoln Avenue
   Steamboat Springs, CO 80477
   Phone Number: (970) 879-7600                                      Div.:    Ctrm:
   FAX Number: (970) 879-8162
   E-mail: engle@steamboatlawfirm.com
   demmitt@steamboatlawfirm.com


                                 AMENDED COMPLAINT

         COMES NOW PLAINTIFF, HDN Condo Association Inc Dan Roth, by and through
  undersigned counsel and as and for their claim against Defendant West American Insurance
  Company, hereby submits its proposed amended complaint, and alleges as follows:

                                         THE PARTIES

         1.      Plaintiff HDN Condo Association Inc Dan Roth (“Plaintiff”) is Colorado non-profit
  corporation with a principal place of business in Colorado.

         2.      Defendant West American Insurance Company (“West American”) is an Indiana
  corporation registered to conduct business in the State of Colorado, with its principal place of
  business at 350 E. 96th Street, Indianapolis, IN 46240.
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                                 JURISDICTION AND VENUE

         3.     The events complained of and at issue herein took place in Routt County, Colorado.

         4.     The Court has jurisdiction over this case under Colo. Const. Art. VI § 9.

         5.     Venue is appropriate in this Court pursuant to C.R.C.P. 98.

                                  FACTUAL BACKGROUND

         6.      Plaintiff owns the real property located at 11430 County Road 51a, Hayden,
  Colorado (the “Property”).

         7.      Plaintiff HDN Condo Association Inc Dan Roth is the named insured by a Colorado
  Commercial Policy placed by Liberty Mutual Insurance (“Liberty”) via Alpine Insurance Agency
  (“Alpine”), with a policy number of BKW577503472 (the “Policy”). A copy of the Policy is
  attached hereto as Exhibit 1.

         8.     The Policy is underwritten by Defendant West American.

         9.    On or about April 4, 2019, Plaintiff discovered damage to the roof of the Property
  (the “Damage”) and called Alpine to inform them of the Damage.

         10.   Plaintiff initiated a claim with Defendant West American and was assigned the
  claim number 23533626 (the “Claim”).

         11.     Plaintiff cannot determine, and Defendant West American has not stated, any
  reasonable justification, pursuant to the Policy, for Defendant West American to have delayed or
  denied the Claim.

         12.     Defendant West American denied the Claim in a letter dated January 5, 2021. A
  copy of the denial letter is attached hereto as Exhibit 2.

         13.     Plaintiff is a first-party claimant as defined in Colorado Statutes Annotated
  (“C.R.S.”) § 10-3-1115(1)(b)(I).

         14.    C.R.S. § 10-3-1116(1) states, “A first-party claimant as defined in section 10-3-
  1115, whose claim for payment of benefits has been unreasonably delayed or denied may bring an

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  action in a district court to recover reasonable attorney fees and court costs and two times the
  covered benefit.”

                                    FIRST CLAIM FOR RELIEF
                                        Breach of Contract

            15.   Plaintiff realleges and incorporates each and every allegation as if fully set forth
  herein.

        16.       The Policy is a legally binding contract between Plaintiff and Defendant West
  American.

         17.     Pursuant to the Policy, West American has an obligation to provide loss coverage
  for snow-related damage to the roof.

         18.    West American breached the contract by denying Plaintiff’s claim and failing to
  provide coverage for the Damage.

        19.    As a direct and proximate cause of West American’s breach, Plaintiff has suffered
  damages by an amount to be proven by the evidence at trial.

          20.   Despite demand, West American has refused to comply with the contract, and cover
  the loss damages suffered by Plaintiff.

                                      SECOND CLAIM FOR RELIEF
                                         (Common Law Bad Faith)

          21.     For this paragraph, Plaintiff hereby incorporates the foregoing allegations as if fully
  restated herein.

         22.     Pursuant to the terms and provisions of C.R.S. §10-1-102, the Policy is a contract
  providing indemnity or payment of specified benefits when a loss occurs as described in the Policy.
  The Policy is an insurance policy pursuant to C.R.S. §10-1-102.

          23.     Colorado law also provides that the special nature of the insurance contract, and the
  relationship which exists between the insurer and the insured, raises an insurer’s breach of the duty
  of good faith to a separate cause of action that sounds in tort. See Cary v. United of Omaha Life
  Ins. Co., 68 P.3d 462, 466, 2003 Colo.

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           24.    Plaintiff timely and properly notified West American of the Damage.

          25.     West American owes a non-delegable duty of good faith and fair dealing to
  Plaintiff.

           26.    West American breached its duty by unreasonably refusing and delaying Plaintiff’s
  claim.

           27.    The failure of West American to properly provide coverage has damaged Plaintiff.

          28.      West American’s breach is the direct and proximate cause of damages suffered by
  Plaintiff, in an amount to be proven at trial.

                                    THIRD CLAIM FOR RELIEF
                                        (Statutory Bad Faith)

          29.     For this paragraph, Plaintiff hereby incorporates the foregoing allegations as if fully
  restated herein.

         30.    Plaintiff is a “First Party Claimant” with the meaning of C.R.S. §10-3-1115 and
  C.R.S. §10-3-1116.

         31.    American West acted unreasonably in denying and delaying a claim for benefits
  under the terms of the Policy.

        32.   Plaintiff has suffered damages as a direct and proximate result of the conduct of
  American West.

         33.     In addition to other damages or relief available to Plaintiff, Plaintiff is entitled to
  recover damages as prescribed by C.R.S. §10-3-1116 in an amount to be proven at trial, including
  a doubling of the damages suffered by Plaintiff.

          34.     In addition to any other damages or relief available to Plaintiff, Plaintiff is entitled
  to recover its costs and attorney fees pursuant to C.R.S. §10-3-1116.

                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiff prays for relief as follows:

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               a.     Judgment against West American for an amount to be proven at trial,

               b.     Double damages pursuant to C.S.A. § 10-3-1116(1);

               c.     An award of attorney fees and costs; and

               d.     For such other relief as the Court deems just and proper.

        RESPECTFULLY SUBMITTED this 27th day of July, 2021.

                                            SHARP, SHERMAN & ENGLE, LLC

                                            Original signature on file for review upon request at the
                                            Office of Sharp, Sherman & Engle LLC



                                            By: /s/ Brent Demmitt
                                                Brent Demmitt, Esq., Atty. # 53852
                                                P. O. Box 774608
                                                Steamboat Springs, CO 80477
                                                Attorney for Plaintiff

  Plaintiff’s Address:
  P.O. Box 772483
  Steamboat Springs, Colorado 80477




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